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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                       Case Number 4:01cr239

                                                         USM Number 17265-047

KRISTIN D. WEIRICH
                  Defendant
                                                         John C. Vanderslice

                                                         Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                         (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of Standard Condition #7 and Special Condition #6
of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                   Date Violation
        Violation Number                  Nature of Violation                       Concluded


 1. (Standard Condition #7)         The defendant shall refrain from              January 24, 2005
                                    excessive use of alcohol and
                                    shall not purchase, possess,
                                    use, distribute, or administer any
                                    controlled substance or any
                                    paraphernalia related to any
                                    controlled substances except as
                                    prescribed by a physician.

 2. (Special condition #6)          Defendant shall complete 300               To date, defendant has
                                    hours of community service as         completed only 10 hours of
                                    approved and directed by the          community service and has a
                                    U.S. Probation Officer. The           remaining balance of 290 hours.
                                    defendant shall be responsible        She has failed to follow the
                                    for providing the U.S. Probation      directives of the probation office
                                    Officer with written proof of the     regarding completion of this
                                    number of hours completed.            condition.

Original Offense: Possession with intent to distribute methamphetamine in violation of 21 USC 841(a)(1).

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the defendant of her right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.
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IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                              November 4, 2005

                                                                      s/ Richard G. Kopf
                                                                      United States District Judge

                                                                        November 9, 2005
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                                       IMPRISONMENT

       It is ordered that the defendant’s term of supervised release is revoked. The defendant is
hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of twenty-four (24) months with no supervised release to follow.

The Court makes the following recommendations to the Bureau of Prisons:

1.       That the defendant be placed at FMC-Carswell or a federal medical center as close to
         Omaha, Nebraska, as possible. The defendant suffers from pseudotumor cerebri that
         requires medical monitoring. the defendant also requires assistance with modulation of
         pain medication.

2.       That the defendant participate in the 500-hour Intensive Drug Treatment Program or any
         similar drug treatment program available.

The defendant shall surrender for service of sentence at the institution designated by the Bureau
of Prisons before 2:00 p.m. no earlier than 60 days from today’s date as notified by the United
States Marshal.

                                ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                            _____________________________
                                                                    Signature of Defendant

                                            RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                      __________________________________
                                                             UNITED STATES WARDEN

                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                      __________________________________
                                                             UNITED STATES WARDEN

                                                   By:__________________________________
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                                CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                     Total Fine                 Total Restitution

          $100.00 (PAID)


                                              FINE

         No fine imposed.


                                       RESTITUTION

         No restitution was ordered.
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                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, the court orders that payment of the total criminal
monetary penalties shall be due as follows:

      The defendant has paid the special assessment in the amount of $100.00, Receipt
L403627.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court. In the event a defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest, (7) penalties, and
(8) costs, including cost of prosecution and court costs.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
